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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 ALLIED INDUSTRIAL SUPPLY LLC,
      Plaintiff,

 v.                                                      Case No. 1:22-cv-815

 CHRISTOPHER STONE,                                      HONORABLE PAUL L. MALONEY
      Defendant.
 ____________________________/

                ORDER ADOPTING REPORT AND RECOMMENDATION

        Plaintiff initiated this lawsuit by filing its complaint on September 2, 2022 (ECF No. 1).

Defendant filed a motion to dismiss pursuant to Rule 12(b) of the Federal Rules of Civil Procedure.

The matter was referred to the Magistrate Judge, who issued a Report and Recommendation on

January23, 2023, recommending that this Court deny the motion and stay the action. The Report

and Recommendation was duly served on the parties. No objections have been filed. See 28

U.S.C. § 636(b)(1). Therefore,

        IT IS HEREBY ORDERED that the Report and Recommendation (ECF No. 10) is

APPROVED and ADOPTED as the Opinion of the Court.

        IT IS FURTHER ORDERED that the Motion for motion to dismiss (ECF No. 6) is

DENIED.

        IT IS FURTHER ORDERED that this action is STAYED pending a decision from the

District of New Jersey on the application of the first-to-file-rule. The parties will file a joint status

report detailing the status of this matter within 14 days of the decision.


Dated: February 7, 2023                                          /s/ Paul L. Maloney
                                                                Paul L. Maloney
                                                                United States District Judge
